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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI


ANDREW JOHNSON                                      Case No.: 1:16-cv-00224-SNL

              Plaintiff
v.                                                  PROPOSED ORDER
JOHNSON & JOHNSON, et. al.

                     Defendant(s)



                                       PROPOSED ORDER


       IT IS ORDERED that Plaintiff’s Motion for Extension of Time to file an Amended Complaint or

in the alternative a Stay on the entire action is hereby granted pending transfer to the Multi-District

Litigation in the United States District Court, District of Minnesota, IN RE: FLUOROQUINOLONE

PRODUCTS LIABILITY LITIGATION, 15-MD-2642


                                               ___________________________________
                                               Honorable Judge Stephen N. Limbaugh, Jr.
